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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_______________________________________________

UNITED STATES OF AMERICA,

                                      Plaintiff,

                                                                    DECISION AND ORDER

                                                                    05-CR-6062L

                      v.

CARLOS TORRES,

                              Defendant.
________________________________________________


       Defendant, Carlos Torres (“Torres”), has been indicted with several others and charged with

narcotics and weapons offenses. Specifically, Torres is charged with conspiracy to distribute 5

kilograms or more of cocaine and also charged with use of a firearm in connection with a drug

trafficking crime, 18 U.S.C. § 924(c). If convicted, as charged, Torres faces a mandatory minimum

sentence of 15 years imprisonment with a potential maximum sentence of life imprisonment. On

the Government’s motion, a detention hearing was held and United States Magistrate Judge Marian

W. Payson ruled on May 3, 2005 that Torres should be detained on the grounds that he was a danger

to the community. The Government had originally moved to detain based both on risk of flight and

danger to the community. Torres now appeals Magistrate Judge Payson’s decision to this Court.

       I note at the outset, that both charges, drug trafficking and possession of a weapon in

furtherance of that activity, create a statutory presumption for detention. 18 U.S.C. § 3142(e).

Although Magistrate Judge Payson did not base her decision on risk of flight, based on the

substantial quantity of drugs found, the strength of the Government’s case and the fact that Torres
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is facing a minimum 15-year sentence, there would be a basis to detain based on risk of flight, in

spite of Torres’ lack of prior record and significant ties to the community.

       Magistrate Judge Payson did focus on danger to the community and I believe the evidence

supports that. I do not believe that the defendant has rebutted the presumption that no condition will

reasonably assure the safety of the community. The evidence developed at the detention hearing

painted a picture of a significant drug dealer. The confidential informant provided information that

was corroborated by the supervising officers. A substantial quantity of cocaine was found, over 12

kilograms, and upon a search of the residence, a substantial sum of money, as well as a shotgun and

bullet proof vest were also discovered. I am not persuaded by the explanation advanced by Torres’

counsel for his possession of those items. Magistrate Judge Payson was not impressed with the

explanation as she indicated in rendering her oral decision. I believe, when considered together, all

of the evidence establishes the trademarks of a significant drug dealer, and I think under those

circumstances, in spite of Torres’ ties to the community and lack of prior record, detention is

warranted because such illegal activity constitutes a danger to the community.



                                          CONCLUSION

       Defendant’s appeal from the detention order of United States Magistrate Judge Marian W.

Payson, issued on May 3, 2005, is denied, and I affirm the detention order.

       IT IS SO ORDERED.



                                       _______________________________________
                                                DAVID G. LARIMER
                                              United States District Judge

Dated: Rochester, New York
       August 17, 2005.


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